Case 2:97-cr-20074-.]PI\/| Document 72 Filed 05/31/05 Page 1 of 2 Page|D 55
F£l.E`D §3`?' _ a. 't`J.C.

IN THE UNITED sTATEs DISTRICT COURT 95 i"'i`¢’ 3* iii 5= 56
FoR THE WESTERN DISTRICT 0F TENNESSEE 63 __._1 §§ um
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UNITED STATES OF AMERICA,

Plaintiff, Case No. 97-20074 D
vs.
JOHN FELIX GREER,

Defendant.

 

ORDER OF TRANSFER

 

The above-styled case is hereby transferred to Judge Jon P. McCalla in exchange for a
previous case. The parties shall, on all pleadings and correspondence related to this matter, change

the judge’s initials in the case number from 97-200'74 D V to 97-20074 Ml V.

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ICE BO IE DO ALD
TED STATES DISTRICT JUDGE

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UNITED s`TATE"DRISTIC COURT - WESRNTE D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
ease 2:97-CR-20074 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

